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, UNITED STATES DISTRICT COURT F,'LED
14 4 ‘ 44 "’ a A ft 55 MIDDLE DISTRICT oF ALABAMA
NoRTHERN DIVISION
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SANDRA_ HQLT DEBRA GAWOR )
PoLLY SMITH, AND JoANN MORRIS ) CL
oN BEHALF oF THEMSELVES AND ALL ) U s o sTR$gK
oTHERS SIMILARLY SITUATED, ) M'DDLE otST_ TOCOLl/_IZT
)
Plaintiffs, ) W/
) CIVIL ACTIoN NUMBER;
v. ) Cv-03- _748-N
) A
RITE AID CoRPoRATloN, )
)
Defendant. )
)

JOINT MOTION FOR ENTRY OF ORDER GOVERNING
THE EXCHANGE AND PROTECTION OF
CONFIDENTIAL INFORMATION

Plaintiffs Sandra Holt, Debra Gawor, Polly Smith, and Joann Morris, and Defendant Rite
Aid Corporation, by and through their respective undersigned counsel, hereby jointly move the
Court for entry of the proposed Confidentiality Agreement and Order Governing the Exchange
and Protection of Confidential Inforrnation, which is attached hereto.

Respectfully submitted this 28th day of January, 2004.

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Counsel for Plaintiffs

